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                          UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,
                                                  Criminal No. 17-9 (JRT/KMM)
                                Plaintiff,

 v.                                          MEMORANDUM OPINION AND ORDER
                                                  DENYING MOTION FOR
 JESSE WELLS HAUG,                              COMPASSIONATE RELEASE

                              Defendant.


      Charles J. Kovats, Jr. and Kimberly A. Svendsen, UNITED STATES
      ATTORNEY’S OFFICE, 300 South Fourth Street, Suite 600, Minneapolis, MN
      55415, for Plaintiff.

      Jesse Wells Haug, BOP Reg. No. 20974-041, FPC Duluth, P.O. Box 100,
      Duluth, MN 55814, pro se.


      Defendant Jesse W. Haug is currently serving a 49-month sentence for wire fraud.

Haug asks the Court to reduce his sentence and grant him compassionate release or

convert the remainder of his sentence to home confinement because of the ongoing

COVID-19 pandemic. Because Haug has not established extraordinary and compelling

reasons warranting a sentence reduction, the Court will deny Haug’s Motion for

Compassionate Release.

                                   BACKGROUND

      Haug is currently incarcerated with the Bureau of Prisons (“BOP”) at the Federal

Prison Camp in Duluth, Minnesota (“FPC Duluth”). Inmate Locator, Fed. Bureau of
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Prisons, https://www.bop.gov/inmateloc (last visited Sept. 25, 2020). In June 2018, Haug

pleaded guilty to wire fraud. (Plea Agreement, June 4, 2018, Docket No. 102.) On October

30, 2018, Haug was sentenced to a 49-month term of imprisonment. (Sentencing J. at 2,

Oct. 30, 2018, Docket No. 122.) Haug’s current projected release date is March 18, 2021.

Inmate Locator. His current projected home detention eligibility date is October 21, 2020.

(Mot. for Compassionate Release at 3, May 22, 2020, Docket No. 124.)

      Haug does not claim to suffer from any underlying health conditions. He does state

that he has been unable to see his daughter since December 2019, (Pro Se Letter at 2,

June 5, 2020, Docket No. 126), and that he has a fear of dying from the virus, (1st Pro Se

Declaration ¶ 4, June 5, 2020, Docket No. 127.) As of October 14, 2020, there are four

active cases of COVID-19 at FPC Duluth. See COVID-19 Cases, Fed. Bureau of Prisons,

https://www.bop.gov/coronavirus/ (last visited Oct. 14, 2020).

      On May 26, 2020, Haug filed this Motion for Compassionate Release pursuant to

18 U.S.C. § 3582(c)(1)(A), arguing that he does not pose a risk to the community and that

home confinement would allow him to take care of his family. (Mot. for Compassionate

Release at 5). The United States opposes the Motion. (Mem. Opp., June 11, 2020, Docket

No. 128.)

                                      DISCUSSION

      The First Step Act, passed in December 2018, amended the procedure for

compassionate release. See First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194,


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5239 (2018). It allows defendants, in addition to the BOP, to move for compassionate

release. Id. (codified at 18 U.S.C. § 3582(c)(1)(A)). A defendant may only bring such a

motion “after the defendant has fully exhausted all administrative rights to appeal a

failure of the Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse

of 30 days from the receipt of such a request by the warden of the defendant’s facility,

whichever is earlier.” 1 18 U.S.C. § 3582(c)(1)(A).

       Once remedies are exhausted, the Court may reduce the defendant’s sentence

after considering the “factors set forth in section 3553(a),” if it finds that “extraordinary

and compelling reasons warrant such a reduction,” and that “such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission.” Id.

The Sentencing Commission notes that extraordinary and compelling reasons may include

an illness or condition that substantially diminishes the ability of a defendant to provide

self-care, the death or incapacitation of the caregiver of the defendant’s minor children,

or when the defendant is at least 65 years of age and is experiencing a serious

deterioration in health. See U.S.S.G. § 1B1.13 cmt. n.1. Additionally, the Sentencing




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  Haug and the United States dispute whether he exhausted his administrative remedies as
required by 18 U.S.C. § 3582(c)(1)(A). Haug asserts that he delivered a request for compassionate
release to the warden on April 20, 2020, then sent an electronic request to both the warden and
the associate warden on May 10, 2020. (2nd Pro Se Declaration ¶¶ 1–2, June 25, 2020, Docket
No. 136.) He further asserts that he did not receive a response to either request within 30 days.
(Id. ¶ 3.) The United States avers that the BOP has no record of any such requests. (Mem. Opp.
at 8–9.) The Court finds Haug’s statements to be sufficient to reach the merits.

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Commission notes that rehabilitation, by itself, is not an extraordinary and compelling

reason for such a reduction. Id. cmt. n.3.

      The Court finds that Haug has not shown that extraordinary and compelling

reasons warrant a reduction to his sentence.            Haug has neither demonstrated a

deteriorating medical condition, nor one that substantially diminishes his ability to

provide self-care. Further, while the Court is sympathetic to the fact that Haug has been

unable to visit with his young daughter, her caregiver has not become incapacitated.

Haug has taken laudable steps towards rehabilitation, but this is not enough by itself.

Accordingly, the Court will deny Haug’s Motion for Compassionate Release. The Court

expects that Haug will qualify soon for home detention under BOP rules.


                                         ORDER

      Based on the foregoing and on all the files, records, and proceedings herein,

Defendant’s Motion for Compassionate Release [Docket No. 124] is DENIED.



DATED: October 16, 2020                            _______                     ______
at Minneapolis, Minnesota.                                 JOHN R. TUNHEIM
                                                               Chief Judge
                                                       United States District Court




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